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                                                                                      NOV 15 2018
                            UNITED STATES DISTRICT COURT                          U.S. DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY                         WE8rN. DIST. KENTUCKY
                                    AT LOUISVILLE

UNITED STATES OF AMERICA

                                                                    INDICTMENT
V.
                                                             No.     3 = ,g:, Gtt.- 1r&1- cH-8
                                                                    18   U.S.C. § 249(a)(l)(B)
GREGORY A. BUSH                                                     18   U.S.C. § 924(c)(l)(A)
                                                                    18   U.S.C. § 924(c)(l)(C)
                                                                    18   U.S.C. § 924(d)
                                                                    18   U.S.C. § 924(j)(l)
                                                                    28   U.S.C. § 246l(c)


The Grand Jury charges:

                                            COUNTl
                                  (Hate Crime Resulting in Death)

       On or about October 24, 2018, in Jefferson County, in the Western District of Kentucky,

the defendant, GREGORY A. BUSH, willfully caused bodily injury to M.S. , by shooting M.S.

multiple times in the head and body, because of M.S .'s actual and perceived race and color. The

offense resulted in the death of M.S.

       In violation of Title 18, United States Code, Section 249(a)(l)(B).



The Grand Jury further charges:

                                          COUNT2
        (Use and Discharge of a Firearm to Commit Murder During and in Relation to a
                                      Crime of Violence)

       On or about October 24, 2018, in Jefferson County, in the Western District of Kentucky,

the defendant, GREGORY A. BUSH, knowingly used and discharged a firearm, to wit, a Smith
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& Wesson, model 411 , .40-caliber pistol with serial number VDB3707, during and in relation to a

crime of violence for which the defendant may be prosecuted in a court of the United States, that

is, the violation of § 249(a)(l) charged in Count One of this Indictment.            The defendant,

GREGORY A. BUSH, through the course of that offense, caused the death of M.S. through the

use of a firearm in such a manner as to constitute murder as defined in 18 U.S .C. § 111 l(a), in that

the defendant unlawfully shot and killed M .S. with malice aforethought.

       In violation of Title 18, United States Code, Sections 924(c)(l)(A), (c)(l)(C), and (j)(l).



The Grand Jury further charges:

                                            COUNT3
                                  (Hate Crime Resulting in Death)

       On or about October 24, 2018, in Jefferson County, in the Western District of Kentucky,

the defendant, GREGORY A. BUSH, willfully caused bodily injury to V.J. , by shooting V.J.

multiple times in the head and body, because of V .J. ' s actual and perceived race and color. The

offense resulted in the death of V.J.

       In violation of Title 18, United States Code, Section 249(a)(l)(B).



The Grand Jury further charges:

                                          COUNT4
        (Use and Discharge of a Firearm to Commit Murder During and in Relation to a
                                     Crime of Violence)

       On or about October 24, 2018, in Jefferson County, in the Western District of Kentucky,

the defendant, GREGORY A. BUSH, knowingly used and discharged a firearm, to wit, a Smith

& Wesson, model 411 , .40-caliber pistol with serial number VDB3 707, during and in relation to a

crime of violence for which the defendant may be prosecuted in a court of the United States, that

is, the violation of § 249(a)(l) charged in Count Three of this Indictment.          The defendant,

                                                  2
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GREGORY A. BUSH, through the course of that offense, caused the death of V.J. through the

use of a firearm in such a manner as to constitute murder as defined in 18 U.S.C. § 1111 (a), in that

the defendant unlawfully shot and killed V.J. with malice aforethought.

       In violation of Title 18, United States Code, Sections 924(c)(l)(A), (c)(l)(C), and (i)(l).



The Grand Jury further charges:

                                            COUNT 5
                                  (Hate Crime with Attempt to Kill)

       On or about October 24, 20 18, in Jefferson County, in the Western District of Kentucky,

the defendant, GREGORY A. BUSH, willfully attempted to cause bodily injury to D.R. through

the use of a firearm, by shooting at D.R. with a firearm (a Smith & Wesson, model 411, .40-caliber

pistol with serial number VDB3 707), because of D.R. 's actual and perceived race and color. The

offense involved an attempt to kill D.R.

       In violation of Title 18, United States Code, Section 249(a)(l)(B).



The Grand Jury further charges:

                                         COUNT6
        (Use and Discharge of a Firearm During and in Relation to a Crime of Violence)

       On or about October 24, 20 18, in Jefferson County, in the Western District of Kentucky,

the defendant, GREGORY A. BUSH, knowingly used and discharged a firearm, to wit, a Smith

& Wesson, model 411 , .40-caliber pistol with serial number VDB3 707, during and in relation to a

crime of violence for which the defendant may be prosecuted in a court of the United States, that

is, the violation of§ 249(a)(l) charged in Count Five of this Indictment.

       In violation of Title 18, United States Code, Section 924(c)(l)(A) and (c)(l)(C).




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                   NOTICE OF SPECIAL FINDINGS PURSUANT TO
              TITLE 18, UNITED STATES CODE, SECTIONS 3591 AND 3592

The Grand Jury further finds:

       As to Counts Two and Four, the defendant, GREGORY A. BUSH,

              a. was 18 years of age or older at the time of the offenses;

              b. intentionally killed M.S. and V.J. (18 U.S.C. § 359l(a)(2)(A));

              c. intentionally inflicted serious bodily injury that resulted in the deaths of M.S.

                   and V.J. (18 U.S.C. § 359l(a)(2)(B));

              d. intentionally participated in an act, contemplating that the life of a person would

                   be taken and intending that lethal force would be used in connection with a

                   person, other than one of the participants in the offense, and M.S. and V.J. died

                   as a direct result of the act (18 U.S.C. § 359l(a)(2)(C));

              e. intentionally and specifically engaged in an act of violence, knowing that the

                   act created a grave risk of death to a person, other than one of the participants

                   in the offense, such that participation in the act constituted a reckless disregard

                   for human life, and M.S. and V.J. died as a direct result of the act (18 U.S.C.

                   § 3591(a)(2)(D));

              f.   in committing the offenses charged in Counts Two and Four, and in attempting

                   to escape apprehension for those offenses, knowingly created a grave risk of

                   death to one or more persons in addition to the victims of the offenses (18

                   U.S.C. § 3592(c)(5));

              g. committed the offenses charged in Counts Two and Four after substantial

                   planning and premeditation to cause the death of a person (18 U.S.C.

                   § 3592(c)(9)); and


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               h. in committing the offenses charged in Counts Two and Four, intentionally

                   killed more than one person in a single criminal episode (18 U.S.C.

                   § 3592(c)(16)).



                                     FORFEITURE NOTICE

       If convicted of any violation of Title 18, United States Code, Sections 924( c) or 924(j), as

charged in Counts Two, Four, and Six of this Indictment, the defendant, GREGORY A. BUSH,

shall forfeit to the United States the following firearm that was involved and used in the knowing

commission of those offenses and is subject to forfeiture pursuant to Title 18, United States Code,

Section 924(d), and Title 28, United States Code, Section 246l(c): a Smith & Wesson, model 411 ,

.40-caliber pistol with serial number VDB3707.

                                             A TRUE BILL.




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RUSSELL M. COLEMAN
UNITED STATES ATTORNEY



ERIC S. DREIBAND
ASSISTANT ATTORNEY GENERAL



By: ChristophefJ. Perras
Trial Attorney, Civil Rights Division




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UNITED STATES OF AMERICA v. GREGORY A. BUS H

                                                                PENALTIES

Cou nts I, 3, and 5 (eac h cou nt): NM li fe impriso nment/$250,000/NM 5 yrs. Supervised Re lease
Cou nts 2 and 4 (each count): NM li fe impri sonm ent or the death penalty/mandatory minimum IO years of impri sonment upon finding of
discharge/mandatory minimum of 25 yea rs for a second 924 conviction/$250,000/NM 5 yrs. Supervised Release
Cou nt 6 : NM li fe imprisonment/mandatory mini mum IO years of impriso nment upon findin g of discharge/mandatory minimum of 25
yea rs for a second 924 conviction/$250,000/NM 5 yrs. Supervised Release
Noti ce of Forfeiture


                                                                 NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UN ITED STATES SHALL BE SUBJ ECT TO SPECIAL
ASSESSMENTS, FINES. RESTITUTIO & COSTS.


SPEC IAL ASSESSME TS

18 U.S .C. § 30 13 requires that a spec ial assessment shall be imposed for each count of a conviction of offenses committed after
 ove mber 11 , 1984, as follows:                                                                                              ·

           Misdemeanor:            $ 25 per count/indi vidual                Felony:         $ I 00 per cou nt/indi vidual
                                   $ 12 5 per count/ other                                   $400 per count/other




In additi on to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payme nt by a date certa in or sets out an install ment schedul e. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or yo u may be held in contempt of
court . 18 U.S.C. § 3571 , 3572, 36 1 I, 36 12

Fa ilure to pav fin e as ordered mav subj ect vou to th e following :

           I.   INTEREST and PE NAL TIES as ap plicable by law according to last date of offense.

                     For offenses occurring after December 12, 1987:

                     No INTEREST will accrue on fines under $2,500.00 .

                     I TEREST w ill accrue according to the Federa l Civil Post-Judgme nt Interest Rate in effect at
                     the time of sentencing. Thi s rate changes mo nthl y. Interest accrues from the first business day
                     fo ll owing the two week period after the date a fine is imposed.

                     P E ALTIES of:

                     · I 0% of fine bal ance if payment more than 30 days late.

                     15% of fine ba lance if payment more than 90 days late.

          2.         Recordat ion of a LI EN shall have the sa me force and effect as a tax lien.

          3.         Cont inuous GARNISHMENT may apply until you r fine is paid.

           18 U.S.C. §§ 36 12, 36 13

                     If you WILLFULLY refuse to pay your fine, you sha ll be subj ect to an ADDITIONAL FINE
                     of not more than the greater of$ I 0,000 or twice the unpaid ba lance of the fine; or
                     IMPRI SONMENT for not more than I year or both. 18 U.S .C. § 36 15
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RESTITUTION

If you are convicted of an offense under Titl e 18, U.S.C. , or under certain a ir piracy offenses, you may a lso be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other pena lty authorized by law. I 8 U.S.C. § 3663

APPEAL

If you appeal your conviction a nd the se ntence to pay your fine is stayed pending appeal , the court shall require:

           I.        That you deposit the entire fine amount (or the amount due under an installment schedu le
                     during the time of your appea l) in an escrow account with the U.S. District Court Clerk, or

           2.         Give bond for payment thereof.

           18 U.S.C. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S . District Court Clerk's Office, certifi ed checks or money orders should be made payab le
to the Clerk, U.S. District Court and delivered to the appropriate divi sion office li sted below:

                      LOU ISVILL E:                    Clerk, U.S. Di strict Court
                                                       I 06 Gene Snyder U.S. Courthouse
                                                       601 West Broadway
                                                       Loui sville, KY 40202
                                                       502/625-3500

                     BOWLING GREE                      Clerk, U.S. Di strict Court
                                                       120 Federal Building
                                                       24 1 East Main Street
                                                       Bowling Green, KY 42 10 I
                                                       270/393-2500

                     OWENSBORO:                        Clerk, U.S. District Court
                                                       126 Federal Building
                                                       423 Frede ri ca
                                                       Owensboro, KY 4230 1
                                                       270/689-4400

                     PADUCAH:                          Clerk, U.S. District Court
                                                       127 Federal Building
                                                       501 Broadway
                                                       Paducah, KY 42001
                                                       270/415-6400

lfthe court finds that you ha ve the present ab ility to pay, an order may direct imprisonment until payment is made.
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               FORM DBD-34
               JUN.85


                No.



                  UNITED STATES DISTRICT COURT
                                   Western District of Kentucky
                                          At Louisville

                        THE UNITED STATES OF AMERICA
                                                  vs.


                                   GREGORY A. BUSH

                                           INDICTMENT

                                          COUNTS 1 and 3
                                    Hate Crime Resulting in Death
                                       18 U.S.C. §249(a)(l)(B)

                                        COUNTS 2 and 4
                        Use and Discharge of a Firearm to Commit Murder
                          During and in Relation to a Crime of Violence
                          18 U.S.C. §§924(c)(l)(A), (c)(l)(C), and (j)(l)

                                             COUNTS
                                   Hate Crime with Attempt to Kill
                                       18 U.S.C. §249(a)(l)(B)

                                              COUNT6
                             Use and Discharge of a Firearm During and in
                                   Relation to a Crime of Violence
                                18 U.S.C §§924(c)(l)(A) and (c)(l)(C)

                        NOTICE OF SPECIAL FINDINGS PURSUANT TO
                                 18 U.S.C. §§3591 and 3592

                                             Forfeiture




                                         NOV 'I g ~U}d              Clerk
              Bail, $
                                     U.S. OISTRICl COURT
                                    VW:8T'N. DIST. KENTUCKY
